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                            UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


ROBERT FELTER, and MICHAEL                   Case No. 3:21-cv-04187-VC
WASHINGTON on their own behalf and on
behalf of all others similarly situated,
                                             PLAINTIFFS’ SUPPLEMENTAL
             Plaintiffs,                     OPPOSITION TO DEFENDANT’S
vs.                                          MOTION TO COMPEL ARBITRATION

DELL TECHNOLOGIES, INC., a Texas
Corporation, and DOES 1-10 inclusive,
                                             Assigned to: Hon. Vince Chhabria
             Defendants.




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I.     INTRODUCTION

       The majority of Defendant’s supplemental brief is simply a rehash of the issues

previously briefed and argued at the prior hearing in this matter. Those issues will not be

addressed herein, as they have already been addressed and argued.

       The only matter addressed herein are the issues that arise from the revelation that Dell’s

stated policy was that a person who rejected the agreements set out in the laptop screen would

have to pay a 15% restocking fee and shipping costs to do so. The sole issue addressed herein is

whether the startup screen containing a reference to an arbitration clause, under these

circumstances, can retroactively insert such a clause into the parties’ agreement. Consumers like

Mr. Washington purchased their laptops without an arbitration clause.

       Then, after the purchase, they then saw the startup screen. However, the terms of the

agreement state that the consumer cannot cancel and return the laptop without incurring shipping

charges and a restocking fee. Thus, the consumer cannot simply rescind the contract because

s/he does not agree to an arbitration clause, since the terms of the agreement state that the

consumer in such circumstances would still be liable for shipping costs and a restocking fee1.

       The issue is whether these circumstances can retroactively insert an arbitration clause

into the contract.

       Dell’s response is that the Court can ignore the language imposing shipping costs and

restocking fees on the consumer, because as a matter of policy, it never enforced these terms.

Assuming that this is true, and not merely a self-serving statement made to the Court without any

evidentiary support, it is clear that the consumer was never informed of such a policy.


       1
               See Cal Civ. Code, § 1691 (Westlaw 2022): “[T]o effect a rescission a party to the
contract must . . . [r]estore to the other party everything of value which he has received from him
under the contract. . . .”


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II.    ARGUMENT

       A.        The Imposition Of A 15% Restocking Fee And Shipping Charges To A
                 Consumer Who Chooses to Reject The Arbitration Clause Prevents
                 Rescission Of The Contract And Precludes Defendant From Retroactively
                 Imposing The Arbitration Clause Into The Already Completed Contract.

       This issue concerns specifically Mr. Washington, and those similarly situated to him. As

the Court noted, because Mr. Washington purchased his laptop over the telephone, and based on

his testimony, there was no contractual arbitration clause communicated to him prior to his

purchase.

       Consequently, the only question left is whether the existence of an arbitration clause

seven screens below the “popup” screen that appeared on his computer when he turned it on for

the first time could retroactively impose such a clause into his contract after his purchase.

       As the Court noted, there is a significant difference between the situation here, where he

would have to pay return shipping charges and a 15% restocking fee if he chose to reject the

purchase at that time, and a situation where he could do so with no negative consequences.

       Defendant argues that one cannot use a hypothetical to invalidate an arbitration clause.

But this is not such a situation. Here, there is no arbitration clause – rather, Defendant is seeking

to import one into the contract after the fact, and the law is that it cannot be done under these

circumstances.

       An arbitration clause presented to a party after a party enters into a contract cannot, by

definition, be a part of the contract. Norcia v. Samsung Telecommunications Am., LLC, 845 F.3d

1279, 1283 (9th Cir. 2017). As was discussed at length in the moving documents (See Plaintiffs’

Opposition to Defendant’s Motion to Compel Arbitration, Dkt. No. 33, page 8), following an

extensive review of the relevant law, the court in Norcia held that a clause in a document



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delivered to a party after entry into the contract is, at most, a warranty, and not a part of the

contract:

          “Language in a written warranty agreement is ‘contractual’ in the sense that it
          creates binding, legal obligations on the seller, but a warranty does not impose
          binding obligations on the buyer.”

Norcia, 845 F.3d at 1288 (citations omitted). This is consistent with the law on “clickwrap” and

“browsewrap” agreements, which require an assent – either express or inferred – to the terms of

the agreement before the purchase. See Nguyen v. Barnes & Noble Inc. (9th Cir. 2014) 763 F.3d

1171, 1176 (such an agreement requires actual notice to the consumer or affirmative

acknowledgement of terms of use “before completing his online purchase”).

          Ultimately, the question becomes whether the purchase was “complete” at the time the

product was paid for and delivered, or whether the purchase is not “complete” until after it is set

up, turned on, and agreement is given to the startup screen. If, in fact, the purchase is not

“complete” until the consumer agrees to the startup screen, then the consumer would be entitled

to reject the startup screen’s terms, return the laptop, and receive back everything that s/he paid

for it.

          That was not the case here. Consequently, the purchase was completed at the time the

laptop was received, since the consumer would have to pay a cost to return the laptop. Although

Dell tries to argue that these terms of its agreement should be ignored (while the arbitration term

should not), there is no indication that consumers were ever informed that it had no intention of

enforcing these contract terms.

          Consequently, at the time of startup, the consumer was given a choice: accept the startup

screen, along with its arbitration clause and other terms, or reject it and pay a penalty for doing

so.



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       Consequently, the terms of the startup screen cannot be retroactively imported into the

contract that was already complete. Rather, those terms are, at most, a warranty that is binding

on Dell, but not on the consumer. Norcia, supra.

       For this reason, and for all of the reasons previously briefed and discussed, this motion to

compel arbitration should be denied, at least with regard to Mr. Washington and to those

similarly situated to him.

III.   CONCLUSION

       For the reasons set forth above, and for all of the reasons previously briefed and

discussed, this motion to compel arbitration should be denied, at least with regard to Mr.

Washington and to those similarly situated to him.

Dated: May 5, 2022                                   HOCHFELSEN & KANI, LLP



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                               CERTIFICATE OF SERVICE

        I hereby certify that on May 5, 2022, I electronically filed the foregoing PLAINTIFFS’
SUPPLEMENTAL OPPOSITION TO DEFENDANT’S MOTION TO COMPEL
ARBITRATION with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to the following:



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